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         Exhibit	  EE	  
12/14/22, 1:23 PM                          Case 1:23-cv-00822-ADA Document
                                                                   Los Angeles to 27-24     Filed
                                                                                  Waco Regional      12/22/22
                                                                                                Airport | Google FlightsPage 2 of 18




         One way                      1           Economy


                        …
              Los Angeles                                      …
                                                      Waco Regiona                          Fri, Dec 30


          All filters           Stops             Airlines             Bags               Price              Times                Emissions                 C




         Track prices              Dec 30                                                                Date grid                     Price graph




                          Prices are currently typical for your trip.




All flights
Prices include required taxes + fees for 1 adult. Optional charges and bag fees may apply.                                                Sort by:


                    4:35 PM          11:31 PM                                                                                         $465
                    LAX              ACT

                    1 stop · 4 hr 56 min · American · Operated by Skywest Airlines as American Ea…                    174 kg CO2
                                                                                                                      +19% emissions

                    7:00 AM          2:00 PM                                                                                          $465
https://www.google.com/travel/flights/search?tfs=CBwQAhokagcIARIDTEFYEgoyMDIyLTEyLTMwcg0IAhIJL20vMDZxMThocAGCAQsI____________AUABSAGYAQI&tfu=EgYIBRABGAA&hl=en&authuser=0   1/17
12/14/22, 1:23 PM                         Case 1:23-cv-00822-ADA Document
                                                                  Los Angeles to 27-24     Filed
                                                                                 Waco Regional      12/22/22
                                                                                               Airport | Google FlightsPage 3 of 18
                    7:00 AM         2:00 PM                                                                                           $465
                    LAX             ACT

                    1 stop · 5 hr · American · Operated by Skywest Airlines as American Eagle                         200 kg CO2
                                                                                                                      +37% emissions

                    12:20 PM         7:35 PM                                                                                          $465
                    LAX              ACT

                    1 stop · 5 hr 15 min · American · Operated by Skywest Airlines as American Ea…                    174 kg CO2
                                                                                                                      +19% emissions

                    6:27 AM         2:00 PM                                                                                           $465
                    LAX             ACT

                    1 stop · 5 hr 33 min · American · Operated by Skywest Airlines as American Ea…                    174 kg CO2
                                                                                                                      +19% emissions

                    6:00 AM         2:00 PM                                                                                           $465
                    LAX             ACT

                    1 stop · 6 hr · American · Operated by Skywest Airlines as American Eagle                         200 kg CO2
                                                                                                                      +37% emissions

                    3:26 PM         11:31 PM                                                                                          $465
                    LAX             ACT

                    1 stop · 6 hr 5 min · American · Operated by Skywest Airlines as American Eag…                    200 kg CO2
                                                                                                                      +37% emissions

                    2:32 PM         11:31 PM                                                                                          $465
                    LAX             ACT

                    1 stop · 6 hr 59 min · American · Operated by Skywest Airlines as American Ea…                    200 kg CO2
                                                                                                                      +37% emissions

                    10:35 AM         7:35 PM                                                                                          $469
                    LAX              ACT
                    2 stops · 7 hr · American · Operated by Skywest Airlines as American Eagle, S…                    282 kg CO2
https://www.google.com/travel/flights/search?tfs=CBwQAhokagcIARIDTEFYEgoyMDIyLTEyLTMwcg0IAhIJL20vMDZxMThocAGCAQsI____________AUABSAGYAQI&tfu=EgYIBRABGAA&hl=en&authuser=0   2/17
12/14/22, 1:23 PM                         Case 1:23-cv-00822-ADA Document
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                                                                                 Waco Regional      12/22/22
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                                                                                                                      +92% emissions

                    10:35 AM         7:35 PM                                                                                          $469
                    LAX              ACT

                    2 stops · 7 hr · American · Operated by Skywest Airlines as American Eagle                        234 kg CO2
                                                                                                                      +60% emissions

                    10:30 AM         7:35 PM                                                                                          $465
                    LAX              ACT

                    1 stop · 7 hr 5 min · American · Operated by Skywest Airlines as American Eag…                    174 kg CO2
                                                                                                                      +19% emissions

                    12:59 AM         10:06 AM                                                                                         $465
                    LAX              ACT

                    1 stop · 7 hr 7 min · American · Operated by Skywest Airlines as American Eag…                    191 kg CO2
                                                                                                                      +30% emissions

                    10:00 AM          7:35 PM                                                                                         $465
                    LAX               ACT

                    1 stop · 7 hr 35 min · American · Operated by Skywest Airlines as American Ea…                    200 kg CO2
                                                                                                                      +37% emissions

                    9:35 AM         7:35 PM                                                                                           $469
                    LAX             ACT

                    2 stops · 8 hr · American · Operated by Skywest Airlines as American Eagle                        226 kg CO2
                                                                                                                      +55% emissions

                    9:35 AM         7:35 PM                                                                                           $469
                    LAX             ACT

                    2 stops · 8 hr · American · Operated by Skywest Airlines as American Eagle                        226 kg CO2
                                                                                                                      +55% emissions

                    1:15 PM        11:31 PM                                                                                           $469

https://www.google.com/travel/flights/search?tfs=CBwQAhokagcIARIDTEFYEgoyMDIyLTEyLTMwcg0IAhIJL20vMDZxMThocAGCAQsI____________AUABSAGYAQI&tfu=EgYIBRABGAA&hl=en&authuser=0   3/17
12/14/22, 1:23 PM                        Case 1:23-cv-00822-ADA Document
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                                                                                Waco Regional      12/22/22
                                                                                              Airport | Google FlightsPage 5 of 18

                    LAX            ACT

                    2 stops · 8 hr 16 min · American · Operated by Skywest Airlines as American E…                    235 kg CO2
                                                                                                                      +60% emissions

                    1:15 PM        11:31 PM                                                                                           $469
                    LAX            ACT
                    2 stops · 8 hr 16 min · American · Operated by Skywest Airlines as American E…                    235 kg CO2
                                                                                                                      +60% emissions

                    1:15 PM        11:31 PM                                                                                           $469
                    LAX            ACT
                    2 stops · 8 hr 16 min · American · Operated by Skywest Airlines as American E…                    243 kg CO2
                                                                                                                      +66% emissions

                    9:05 AM         7:35 PM                                                                                           $469
                    LAX             ACT
                    2 stops · 8 hr 30 min · American · Operated by Skywest Airlines as American …                    313 kg CO2
                                                                                                                     +114% emissions

                    9:00 AM         7:35 PM                                                                                          $470
                    LAX             ACT
                    1 stop · 8 hr 35 min · American · Operated by Skywest Airlines as American Ea…                    181 kg CO2
                                                                                                                      +24% emissions

                    8:40 AM         7:35 PM                                                                                           $469
                    LAX             ACT

                    2 stops · 8 hr 55 min · American · Operated by Skywest Airlines as American E…                    279 kg CO2
                                                                                                                      +90% emissions

                    8:40 AM         7:35 PM                                                                                           $469
                    LAX             ACT

                    2 stops · 8 hr 55 min · American · Operated by Skywest Airlines as American E…                    279 kg CO2
                                                                                                                      +90% emissions
https://www.google.com/travel/flights/search?tfs=CBwQAhokagcIARIDTEFYEgoyMDIyLTEyLTMwcg0IAhIJL20vMDZxMThocAGCAQsI____________AUABSAGYAQI&tfu=EgYIBRABGAA&hl=en&authuser=0   4/17
12/14/22, 1:23 PM                         Case 1:23-cv-00822-ADA Document
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                    12:31 PM        11:31 PM                                                                                          $469
                    LAX             ACT

                    2 stops · 9 hr · American · Operated by Skywest Airlines as American Eagle                        219 kg CO2
                                                                                                                      +50% emissions

                    12:31 PM        11:31 PM                                                                                          $469
                    LAX             ACT

                    2 stops · 9 hr · American · Operated by Skywest Airlines as American Eagle                        199 kg CO2
                                                                                                                      +36% emissions

                    12:30 PM         11:31 PM                                                                                         $469
                    LAX              ACT

                    2 stops · 9 hr 1 min · American · Operated by Skywest Airlines as American E…                    355 kg CO2
                                                                                                                     +143% emissions

                    12:26 PM         11:31 PM                                                                                         $469
                    LAX              ACT

                    2 stops · 9 hr 5 min · American · Operated by Skywest Airlines as American E…                    299 kg CO2
                                                                                                                     +104% emissions

                    12:20 PM         11:31 PM                                                                                        $470
                    LAX              ACT

                    1 stop · 9 hr 11 min · American · Operated by Skywest Airlines as American Ea…                    174 kg CO2
                                                                                                                      +19% emissions

                    7:45 AM         7:35 PM                                                                                           $469
                    LAX             ACT

                    2 stops · 9 hr 50 min · American · Operated by Skywest Airlines as American …                    355 kg CO2
                                                                                                                     +143% emissions

                    7:15 AM        7:35 PM                                                                                            $469
                    LAX            ACT

https://www.google.com/travel/flights/search?tfs=CBwQAhokagcIARIDTEFYEgoyMDIyLTEyLTMwcg0IAhIJL20vMDZxMThocAGCAQsI____________AUABSAGYAQI&tfu=EgYIBRABGAA&hl=en&authuser=0   5/17
12/14/22, 1:23 PM                        Case 1:23-cv-00822-ADA Document
                                                                 Los Angeles to 27-24     Filed
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                                                                                              Airport | Google FlightsPage 7 of 18


                    2 stops · 10 hr 20 min · American · Operated by Skywest Airlines as American …                    268 kg CO2
                                                                                                                      +83% emissions

                    7:00 AM         7:35 PM                                                                                           $469
                    LAX             ACT

                    2 stops · 10 hr 35 min · American · Operated by Skywest Airlines as American …                    258 kg CO2
                                                                                                                      +76% emissions

                    7:00 AM         7:35 PM                                                                                           $469
                    LAX             ACT

                    2 stops · 10 hr 35 min · American · Operated by Skywest Airlines as American …                    235 kg CO2
                                                                                                                      +60% emissions

                    7:00 AM         7:35 PM                                                                                          $470
                    LAX             ACT

                    1 stop · 10 hr 35 min · American · Operated by Skywest Airlines as American E…                    200 kg CO2
                                                                                                                      +37% emissions

                    10:54 AM         11:31 PM                                                                                         $469
                    LAX              ACT

                    2 stops · 10 hr 37 min · American · Operated by Skywest Airlines as America…                     342 kg CO2
                                                                                                                     +134% emissions

                    1:13 AM        2:00 PM                                                                                            $838
                    LAX            ACT

                    2 stops · 10 hr 47 min · American · Operated by Skywest Airlines as America…                     413 kg CO2
                                                                                                                     +182% emissions

                    10:35 AM         11:31 PM                                                                                         $469
                    LAX              ACT

                    2 stops · 10 hr 56 min · American · Operated by Skywest Airlines as American …                    282 kg CO2
                                                                                                                      +92% emissions


https://www.google.com/travel/flights/search?tfs=CBwQAhokagcIARIDTEFYEgoyMDIyLTEyLTMwcg0IAhIJL20vMDZxMThocAGCAQsI____________AUABSAGYAQI&tfu=EgYIBRABGAA&hl=en&authuser=0   6/17
12/14/22, 1:23 PM                         Case 1:23-cv-00822-ADA Document
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                                                                                               Airport | Google FlightsPage 8 of 18



                    10:35 AM         11:31 PM                                                                                         $469
                    LAX              ACT

                    2 stops · 10 hr 56 min · American · Operated by Skywest Airlines as American …                    234 kg CO2
                                                                                                                      +60% emissions

                    12:59 AM         2:00 PM                                                                                         $470
                    LAX              ACT

                    1 stop · 11 hr 1 min · American · Operated by Skywest Airlines as American Ea…                    191 kg CO2
                                                                                                                      +30% emissions

                    10:30 AM         11:31 PM                                                                                        $470
                    LAX              ACT

                    1 stop · 11 hr 1 min · American · Operated by Skywest Airlines as American Ea…                    174 kg CO2
                                                                                                                      +19% emissions

                    6:27 AM         7:35 PM                                                                                          $470
                    LAX             ACT

                    1 stop · 11 hr 8 min · American · Operated by Skywest Airlines as American Ea…                    174 kg CO2
                                                                                                                      +19% emissions

                    10:00 AM          11:31 PM                                                                                       $470
                    LAX               ACT

                    1 stop · 11 hr 31 min · American · Operated by Skywest Airlines as American E…                    200 kg CO2
                                                                                                                      +37% emissions

                    6:00 AM         7:35 PM                                                                                           $469
                    LAX             ACT

                    2 stops · 11 hr 35 min · American · Operated by Skywest Airlines as America…                     342 kg CO2
                                                                                                                     +134% emissions

                    6:00 AM         7:35 PM                                                                                           $469
                    LAX             ACT

https://www.google.com/travel/flights/search?tfs=CBwQAhokagcIARIDTEFYEgoyMDIyLTEyLTMwcg0IAhIJL20vMDZxMThocAGCAQsI____________AUABSAGYAQI&tfu=EgYIBRABGAA&hl=en&authuser=0   7/17
12/14/22, 1:23 PM                         Case 1:23-cv-00822-ADA Document
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                    2 stops · 11 hr 35 min · American · Operated by Skywest Airlines as America…                     342 kg CO2
                                                                                                                     +134% emissions

                    9:56 AM         11:31 PM                                                                                          $469
                    LAX             ACT

                    2 stops · 11 hr 35 min · American · Operated by Skywest Airlines as America…                     355 kg CO2
                                                                                                                     +143% emissions

                    9:56 AM         11:31 PM                                                                                          $469
                    LAX             ACT

                    2 stops · 11 hr 35 min · American · Operated by Skywest Airlines as America…                     347 kg CO2
                                                                                                                     +137% emissions

                    6:00 AM         7:35 PM                                                                                          $470
                    LAX             ACT
                    1 stop · 11 hr 35 min · American · Operated by Skywest Airlines as American E…                    200 kg CO2
                                                                                                                      +37% emissions

                    11:59 PM        2:00 PM+1                                                                                        $470
                    LAX             ACT
                    1 stop · 12 hr 1 min · American · Operated by Skywest Airlines as American Ea…                    174 kg CO2
                                                                                                                      +19% emissions

                    11:55 PM        2:00 PM+1                                                                                         $469
                    LAX             ACT

                    2 stops · 12 hr 5 min · American · Operated by Skywest Airlines as American …                    342 kg CO2
                                                                                                                     +134% emissions

                    11:55 PM        2:00 PM+1                                                                                         $469
                    LAX             ACT

                    2 stops · 12 hr 5 min · American · Operated by Skywest Airlines as American …                    342 kg CO2
                                                                                                                     +134% emissions


https://www.google.com/travel/flights/search?tfs=CBwQAhokagcIARIDTEFYEgoyMDIyLTEyLTMwcg0IAhIJL20vMDZxMThocAGCAQsI____________AUABSAGYAQI&tfu=EgYIBRABGAA&hl=en&authuser=0   8/17
12/14/22, 1:23 PM                      Case 1:23-cv-00822-ADA Document
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                    9:05 AM         11:31 PM                                                                                          $469
                    LAX             ACT
                    2 stops · 12 hr 26 min · American · Operated by Skywest Airlines as America…                     303 kg CO2
                                                                                                                     +107% emissions

                    9:00 AM         11:31 PM                                                                                         $470
                    LAX             ACT
                    1 stop · 12 hr 31 min · American · Operated by Skywest Airlines as American E…                    181 kg CO2
                                                                                                                      +24% emissions

                    7:45 AM         11:31 PM                                                                                          $469
                    LAX             ACT
                    2 stops · 13 hr 46 min · American · Operated by Skywest Airlines as America…                     347 kg CO2
                                                                                                                     +137% emissions

                    7:15 AM        11:31 PM                                                                                           $418
                    LAX            ACT

                    2 stops · 14 hr 16 min · American · Operated by Skywest Airlines as American …                    268 kg CO2
                                                                                                                      +83% emissions

                    7:00 AM         11:31 PM                                                                                         $470
                    LAX             ACT

                    1 stop · 14 hr 31 min · American · Operated by Skywest Airlines as American E…                    200 kg CO2
                                                                                                                      +37% emissions

                    9:00 PM         2:00 PM+1                                                                                         $475
                    LAX             ACT
                    2 stops · 15 hr · American · Operated by Skywest Airlines as American Eagle,…                    317 kg CO2
                                                                                                                     +117% emissions

                    9:00 PM         2:00 PM+1                                                                                         $589
                    LAX             ACT

https://www.google.com/travel/flights/search?tfs=CBwQAhokagcIARIDTEFYEgoyMDIyLTEyLTMwcg0IAhIJL20vMDZxMThocAGCAQsI____________AUABSAGYAQI&tfu=EgYIBRABGAA&hl=en&authuser=0   9/17
12/14/22, 1:23 PM                        Case 1:23-cv-00822-ADA Document
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                    2 stops    · 15 hr · American · Operated by Skywest Airlines as American Eag…                     226 kg CO2
                                                                                                                      +54% emissions

                    9:00 PM         2:00 PM+1                                                                                         $589
                    LAX             ACT

                    2 stops    · 15 hr · American · Operated by Skywest Airlines as American Eag…                     234 kg CO2
                                                                                                                      +60% emissions

                    6:27 AM         11:31 PM                                                                                         $470
                    LAX             ACT
                    1 stop · 15 hr 4 min · American · Operated by Skywest Airlines as American Ea…                    174 kg CO2
                                                                                                                      +19% emissions

                    8:55 PM         2:00 PM+1                                                                                         $632
                    LAX             ACT

                    2 stops    · 15 hr 5 min · American · Operated by Skywest Airlines as Americ…                     254 kg CO2
                                                                                                                      +74% emissions

                    6:00 AM         11:31 PM                                                                                         $470
                    LAX             ACT
                    1 stop · 15 hr 31 min · American · Operated by Skywest Airlines as American E…                    200 kg CO2
                                                                                                                      +37% emissions

                    1:13 AM        7:35 PM                                                                                           $844
                    LAX            ACT
                    2 stops · 16 hr 22 min · American · Operated by Skywest Airlines as America…                     401 kg CO2
                                                                                                                     +174% emissions

                    1:13 AM        7:35 PM                                                                                            $879
                    LAX            ACT

                    2 stops · 16 hr 22 min · American · Operated by Skywest Airlines as America…                     413 kg CO2
                                                                                                                     +182% emissions

https://www.google.com/travel/flights/search?tfs=CBwQAhokagcIARIDTEFYEgoyMDIyLTEyLTMwcg0IAhIJL20vMDZxMThocAGCAQsI____________AUABSAGYAQI&tfu=EgYIBRABGAA&hl=en&authuser=0   10/17
12/14/22, 1:23 PM                        Case 1:23-cv-00822-ADA Document
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                    1:13 AM        7:35 PM                                                                                            $939
                    LAX            ACT

                    2 stops · 16 hr 22 min · American · Operated by Skywest Airlines as America…                     406 kg CO2
                                                                                                                     +177% emissions

                    12:59 AM         7:35 PM                                                                                         $470
                    LAX              ACT

                    1 stop · 16 hr 36 min · American · Operated by Skywest Airlines as American E…                    191 kg CO2
                                                                                                                      +30% emissions

                    7:15 PM        2:00 PM+1                                                                                          $652
                    LAX            ACT

                    2 stops     · 16 hr 45 min · American · Operated by Skywest Airlines as Ameri…                    281 kg CO2
                                                                                                                      +92% emissions

                    6:30 PM         2:00 PM+1                                                                                         $539
                    LAX             ACT

                    1 stop     · 17 hr 30 min · American · Operated by Skywest Airlines as Americ…                    200 kg CO2
                                                                                                                      +37% emissions

                    11:59 PM        7:35 PM+1                                                                                        $470
                    LAX             ACT
                    1 stop · 17 hr 36 min · American · Operated by Skywest Airlines as American E…                    174 kg CO2
                                                                                                                      +19% emissions

                    11:55 PM         7:35 PM+1                                                                                        $475
                    LAX              ACT

                    2 stops · 17 hr 40 min · American · Operated by Skywest Airlines as America…                     342 kg CO2
                                                                                                                     +134% emissions

                    11:55 PM         7:35 PM+1                                                                                        $475
                    LAX              ACT

https://www.google.com/travel/flights/search?tfs=CBwQAhokagcIARIDTEFYEgoyMDIyLTEyLTMwcg0IAhIJL20vMDZxMThocAGCAQsI____________AUABSAGYAQI&tfu=EgYIBRABGAA&hl=en&authuser=0   11/17
12/14/22, 1:23 PM                      Case 1:23-cv-00822-ADA Document
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                                                                               Waco Regional     12/22/22
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                    2 stops · 17 hr 40 min · American · Operated by Skywest Airlines as America…                     342 kg CO2
                                                                                                                     +134% emissions

                    6:20 PM         2:00 PM+1                                                                                         $575
                    LAX             ACT

                    2 stops    · 17 hr 40 min · American · Operated by Skywest Airlines as Ameri…                     247 kg CO2
                                                                                                                      +69% emissions

                    6:20 PM         2:00 PM+1                                                                                         $575
                    LAX             ACT
                    2 stops    · 17 hr 40 min · American · Operated by Skywest Airlines as Ameri…                     241 kg CO2
                                                                                                                      +64% emissions

                    11:55 PM        7:35 PM+1                                                                                        $608
                    LAX             ACT
                    2 stops · 17 hr 40 min · American · Operated by Skywest Airlines as America…                     342 kg CO2
                                                                                                                     +134% emissions

                    6:20 PM         2:00 PM+1                                                                                         $645
                    LAX             ACT
                    2 stops    · 17 hr 40 min · American · Operated by Skywest Airlines as Ameri…                     232 kg CO2
                                                                                                                      +58% emissions

                    6:20 PM         2:00 PM+1                                                                                         $645
                    LAX             ACT

                    2 stops    · 17 hr 40 min · American · Operated by Skywest Airlines as Ameri…                     241 kg CO2
                                                                                                                      +64% emissions

                    5:30 PM         2:00 PM+1                                                                                         $636
                    LAX             ACT

                    2 stops    · 18 hr 30 min · American · Operated by Skywest Airlines as Ameri…                     268 kg CO2
                                                                                                                      +83% emissions

https://www.google.com/travel/flights/search?tfs=CBwQAhokagcIARIDTEFYEgoyMDIyLTEyLTMwcg0IAhIJL20vMDZxMThocAGCAQsI____________AUABSAGYAQI&tfu=EgYIBRABGAA&hl=en&authuser=0   12/17
12/14/22, 1:23 PM                        Case 1:23-cv-00822-ADA Document
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                    4:35 PM         2:00 PM+1                                                                                         $539
                    LAX             ACT
                    1 stop    · 19 hr 25 min · American · Operated by Skywest Airlines as Americ…                     174 kg CO2
                                                                                                                      +19% emissions

                    4:30 PM         2:00 PM+1                                                                                         $632
                    LAX             ACT

                    2 stops    · 19 hr 30 min · American · Operated by Skywest Airlines as Ameri…                     254 kg CO2
                                                                                                                      +74% emissions

                    1:13 AM        11:31 PM                                                                                          $844
                    LAX            ACT
                    2 stops · 20 hr 18 min · American · Operated by Skywest Airlines as America…                     401 kg CO2
                                                                                                                     +174% emissions

                    1:13 AM        11:31 PM                                                                                          $844
                    LAX            ACT

                    2 stops · 20 hr 18 min · American · Operated by Skywest Airlines as America…                     406 kg CO2
                                                                                                                     +177% emissions

                    1:13 AM        11:31 PM                                                                                           $884
                    LAX            ACT
                    2 stops · 20 hr 18 min · American · Operated by Skywest Airlines as America…                     376 kg CO2
                                                                                                                     +157% emissions

                    12:59 AM         11:31 PM                                                                                        $470
                    LAX              ACT
                    1 stop · 20 hr 32 min · American · Operated by Skywest Airlines as American E…                    191 kg CO2
                                                                                                                      +30% emissions

                    3:26 PM        2:00 PM+1                                                                                         $470
                    LAX            ACT

https://www.google.com/travel/flights/search?tfs=CBwQAhokagcIARIDTEFYEgoyMDIyLTEyLTMwcg0IAhIJL20vMDZxMThocAGCAQsI____________AUABSAGYAQI&tfu=EgYIBRABGAA&hl=en&authuser=0   13/17
12/14/22, 1:23 PM                      Case 1:23-cv-00822-ADA Document
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                                                                               Waco Regional     12/22/22
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                    1 stop    · 20 hr 34 min · American · Operated by Skywest Airlines as Americ…                     200 kg CO2
                                                                                                                      +37% emissions

                    9:00 PM        7:35 PM+1                                                                                          $589
                    LAX            ACT

                    2 stops    · 20 hr 35 min · American · Operated by Skywest Airlines as Ameri…                     234 kg CO2
                                                                                                                      +60% emissions

                    2:32 PM        2:00 PM+1                                                                                          $539
                    LAX            ACT
                    1 stop    · 21 hr 28 min · American · Operated by Skywest Airlines as Americ…                     200 kg CO2
                                                                                                                      +37% emissions

                    6:30 PM        7:35 PM+1                                                                                          $539
                    LAX            ACT

                    1 stop    · 23 hr 5 min · American · Operated by Skywest Airlines as America…                     200 kg CO2
                                                                                                                      +37% emissions

                    6:20 PM        7:35 PM+1                                                                                          $575
                    LAX            ACT

                    2 stops    · 23 hr 15 min · American · Operated by Skywest Airlines as Ameri…                     241 kg CO2
                                                                                                                      +64% emissions

                    12:20 PM        2:00 PM+1                                                                                         $539
                    LAX             ACT
                    1 stop    · 23 hr 40 min · American · Operated by Skywest Airlines as Americ…                     174 kg CO2
                                                                                                                      +19% emissions

                    4:35 PM        7:35 PM+1                                                                                          $539
                    LAX            ACT
                    1 stop    · 25 hr · American · Operated by Skywest Airlines as American Eagle                     174 kg CO2
                                                                                                                      +19% emissions

https://www.google.com/travel/flights/search?tfs=CBwQAhokagcIARIDTEFYEgoyMDIyLTEyLTMwcg0IAhIJL20vMDZxMThocAGCAQsI____________AUABSAGYAQI&tfu=EgYIBRABGAA&hl=en&authuser=0   14/17
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                                                                                                     | Google Flights



                    10:30 AM         2:00 PM+1                                                                                       $470
                    LAX              ACT

                    1 stop    · 25 hr 30 min · American · Operated by Skywest Airlines as Americ…                     174 kg CO2
                                                                                                                      +19% emissions

                    10:00 AM         2:00 PM+1                                                                                       $470
                    LAX              ACT
                    1 stop    · 26 hr · American · Operated by Skywest Airlines as American Eagle                     200 kg CO2
                                                                                                                      +37% emissions

                    3:26 PM        7:35 PM+1                                                                                         $470
                    LAX            ACT
                    1 stop    · 26 hr 9 min · American · Operated by Skywest Airlines as America…                     200 kg CO2
                                                                                                                      +37% emissions

                    9:00 AM         2:00 PM+1                                                                                        $470
                    LAX             ACT
                    1 stop    · 27 hr · American · Operated by Skywest Airlines as American Eagle                     181 kg CO2
                                                                                                                      +24% emissions

                    2:32 PM        7:35 PM+1                                                                                          $539
                    LAX            ACT
                    1 stop    · 27 hr 3 min · American · Operated by Skywest Airlines as America…                     200 kg CO2
                                                                                                                      +37% emissions

                    7:00 AM         2:00 PM+1                                                                                        $470
                    LAX             ACT
                    1 stop    · 29 hr · American · Operated by Skywest Airlines as American Eagle                     200 kg CO2
                                                                                                                      +37% emissions

                    12:20 PM        7:35 PM+1                                                                                         $539
                    LAX             ACT
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                    1 stop     · 29 hr 15 min · American · Operated by Skywest Airlines as Americ…                    174 kg CO2
                                                                                                                      +19% emissions

                    6:27 AM           2:00 PM+1                                                                                      $470
                    LAX               ACT
                    1 stop     · 29 hr 33 min · American · Operated by Skywest Airlines as Americ…                    174 kg CO2
                                                                                                                      +19% emissions

                    6:00 AM           2:00 PM+1                                                                                      $470
                    LAX               ACT
                    1 stop     · 30 hr · American · Operated by Skywest Airlines as American Eagle                    200 kg CO2
                                                                                                                      +37% emissions

                    10:30 AM           7:35 PM+1                                                                                     $470
                    LAX                ACT
                    1 stop     · 31 hr 5 min · American · Operated by Skywest Airlines as America…                    174 kg CO2
                                                                                                                      +19% emissions

                    10:00 AM           7:35 PM+1                                                                                     $470
                    LAX                ACT
                    1 stop     · 31 hr 35 min · American · Operated by Skywest Airlines as Americ…                    200 kg CO2
                                                                                                                      +37% emissions

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